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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re
Chapter 11
J & M Sales Inc., et al.
Case No. 18-11801 (LSS)
Debtors,

 

 

REQUEST FOR SPECIAL NOTICE AND REQUEST FOR INCLUSION IN COURTESY
NOTIFICATION OF ELECTRONIC FILINGS

PLEASE TAKE NOTICE that SulmeyerKupetz, A Professional Corporation,
parties in interest in the above-captioned chapter 11 bankruptcy cases, hereby request, pursuant
to Federal Rules of Bankruptcy Procedure 2002, 3017(a), 4001, 6006, 9007 and 9013, and 11
U.S.C. §§ 102(1), 342 and 1109(b), that all notices given or required to be given in this case, and
all pleadings and other papers served or required to be served in this case be served upon the
following:.

Alan G. Tippie, Esq.

SulmeyerKupetz

A Professional Corporation

333 South Grand Avenue, Suite 3400

Los Angeles, California 90071-1406

Telephone: 213.626.2311

Facsimile: 213.629.4520

Email: atippie@sulmeyerlaw.com

This Request for Special Notice includes the notices and papers referred to in Federal
Rules of Bankruptcy Procedure 2002, 3017 and 9007, among others, and also includes, without

limitation, notices of any orders, applications, complaints, demands, hearings, motions petitions,

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pleadings or requests, or any other document brought before the Court in this case, whether
formal or informal, whether written or oral, and whether transmitted or conveyed by mail, -
delivery, facsimile or otherwise.

This request also includes courtesy notification delivered via the Court's Case

Management/Electronic Filing (CM/ECF) system as a Notice of Electronic Filing (NEF).

DATED: December 12, 2018 SulmeyerKupetz

A Professional Corporation

By: /s/Alan G. Tippie

 

Alan G. Tippie

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